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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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United States 20-cr-00384-WFK
V- NOTICE OF MOTION
TO ADMIT COUNSEL
Gorgi Naumovski PRO HAC VICE
- X

TO: Opposing Counsel

AUSA Andrew Estes

PLEASE TAKE NOTICE that upon the annexed affidavit of movant in support of this motion and

the Certificate(s) of Good Standing annexed thereto, |_Maksim Nemtsev will move this

Court pursuant to Rule 1.3(c) of the Local Rules of the United States District Courts for the
Southern and Eastern Districts of New York for an order allowing the admission of movant, a

member of the firm of _ Maksim Nemtsev PC and a member in good standing of

the bar(s) of the State(s) of _ Massachusetts and New York , as attorney pro hac

vice to argue or try this case in whole or in part as counsel for

Gorgi Naumovski . There are no pending disciplinary

proceedings against me in any state or federal court. (If there are any disciplinary proceedings,
describe them.)

Respectfully submitted,

Dated: 2/21/2023 Mil”

Signature of Movant
Firm Name Maksim Nemtsev PC

Address 20 Park Plaza, Suite 1000
Boston, MA 02116
Email Menemtsev@gmail.com

Phone 347-251-4800

